 Case: 1:14-cv-01748 Document #: 2319 Filed: 12/22/17 Page 1 of 7 PageID #:62483



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE: TESTOSTERONE REPLACEMENT                MDL NO. 2545
THERAPY PRODUCTS LIABILITY LITIGATION
                                               Master Docket No.:    1:14-cv-1748
                                               Honorable Matthew F. Kennelly

  THIS DOCUMENT APPLIES TO ALL CASES




               PLAINTIFFS' STEERING COMMITTEE'S BRIEF
       REGARDING THE SEQUENCE OF THE ACTAVIS BELLWETHER TRIALS

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December 22, 2017
     Case: 1:14-cv-01748 Document #: 2319 Filed: 12/22/17 Page 2 of 7 PageID #:62484



         On December 13, 2017, the Court entered an Order accepting the Parties’ agreement as to

 which two Actavis-only cases would be selected as bellwether trial cases. CMO 88,

 Dkt. No. 2302. That Order granted the Parties until December 22, 2017 in which to file

 simultaneous briefs on which case should be the primary trial case in August 2018.

         The Plaintiffs’ Steering Committee respectfully proposes the Court should designate

 Brad Martin v. Actavis Inc., et al. (No. 15-cv-4292) as the case to be tried on August 6, 2018 and

 should designate Casey Brubaker, et al. v. Actavis Inc., et al. (No. 15-cv-0426) as the backup

 trial case, should Martin be dismissed or otherwise resolved. See CMO 37, Dkt. No. 1661, ¶ 9. 1

I.       Overview of Background Facts of Both Cases

                                                Brad Martin                  Casey Brubaker
         Date of first prescription           October 19, 2012              December 12, 2013
         TRT prescribed for                        Fatigue                Low libido and fatigue
         Injury                             Myocardial infarction          Myocardial infarction
         Injury date                            May 25, 2013                  March 4, 2014
         Age at injury                                52                              41
         Time on TRT at injury                     7 months                     2 ½ months
         Hypertension                           Yes, managed                        Yes
         Hyperlipidemia                         Yes, managed                        Yes
         Tobacco use                     Occasional use of cigars and             Smoker
                                              chewing tobacco
         Diabetes                                     No                            Yes
         Other comorbid conditions                  None                         Obesity,
                                                                               Chronic pain
                                                                               management



 1
  There are two CMOs numbered 37. CMO 37, Dkt. No. 1661 applies to Actavis cases; CMO 37,
 Dkt. No. 1778 applies to Auxilium cases.
       Case: 1:14-cv-01748 Document #: 2319 Filed: 12/22/17 Page 3 of 7 PageID #:62485



II.        The Martin Case is a Representative Bellwether Case

           The Martin case allows plaintiffs to present a quintessential bellwether case to a jury.

  Mr. Martin is a middle-aged man who was in good health, but had battled fatigue and depression

 for years, even though his doctor had tried a variety of remedies without success.

           Mr. Martin saw TRT advertisements and particularly identified with Defendants’

  marketing towards men suffering from fatigue. He asked his doctor to check his testosterone

  level (as the marketing suggested), and when the number returned “low-normal,” he was

 prescribed testosterone for age-related hypogonadism, in spite of the fact that he was not below

 the minimum threshold.

           Other than the very common conditions of managed hypertension, managed

 hyperlipidemia, and an occasional cigar on the golf course or use of chewing tobacco at the

 bowling alley, Mr. Martin does not have comorbid conditions that could distract from the core

 causation questions to be decided at the only Actavis bellwether trial.

           Thus, the Martin case presents a quintessential bellwether case that will further the

 interests of the MDL litigation by allowing Plaintiffs to present a case focusing on the

 Defendants’ conduct and on the role Androderm had in causing Mr. Martin’s myocardial

 infarction.

III.       The Brubaker Case Contains Facts that Render it Unrepresentative

           In contrast with Martin, the Brubaker case presents a number of confounding factors that

  may divert attention from the important issues in this MDL. When the Brubaker case is tried,

 Actavis Defendants will likely claim that Mr. Brubaker’s myocardial infarction was caused by

 multiple confounding factors (morbid obesity, chronic pain management, cigarette smoking,

 hyperlipidemia, and hypertension) or by a combination of these factors and their management.

 These risk factors underscore the precise patient profile to whom testosterone therapy should
   Case: 1:14-cv-01748 Document #: 2319 Filed: 12/22/17 Page 4 of 7 PageID #:62486



 never have been marketed, and for whom a warning was required. Additionally, the PSC can

 demonstrate both mechanistically and via clinical data that Androderm caused Mr. Brubaker’s

 heart attack by significantly amplifying the risk related to his preexisting medical conditions.

 But, should Actavis Defendants successfully place the responsibility for Mr. Brubaker’s

 myocardial infarction on these other factors, a defense verdict (or a de minimis plaintiff’s

 verdict) will do nothing to advance the litigation as a whole. Even if a plurality of the case

 population is obese, or smokes cigarettes, or is receiving pain management, or has unmanaged

 hypertension, or has unmanaged hyperlipidemia, or has one or more comorbid conditions in

 common with Mr. Brubaker, the verdict will be distinguishable unless they have all the factors,

 which would be extremely rare.

        In contrast, a verdict in Mr. Martin’s case will be informative, even to the case population

 that has certain comorbidities that he does not because it will provide insight into how a jury

 views an Androderm case without confounding factors, from which someone with confounding

 factors can at least extrapolate some data.

IV.    Because Actavis Defendants Have Refused to Waive Lexecon for Any Case Other
 Than the August 2018 Trial Pick, Allowing Actavis to Pick the Trial Case Would Work
 Against the Goals of this MDL

        In negotiating the terms of what became CMO 37 (Actavis Fact Discovery and

 Bellwether Selection), Actavis Defendants initially refused to waive Lexecon at all, and the PSC

 objected to what it saw as Actavis Defendants’ attempt to befuddle the purpose of the MDL. See

 Joint Status Report For November 18, 2016 Case Management Conference, Dkt. No. 1601,

 pgs. 7-10. Eventually, Actavis Defendants compromised and agreed to waive for only the one

 case selected to be tried in August 2018. CMO 37, Dkt. No. 1661, ¶ 9.

        As a result of Actavis’ failure to waive Lexecon in more cases, the August 2018 trial slot

 represents the PSC’s only opportunity in the MDL to try a case that clearly sets forth its theory
     Case: 1:14-cv-01748 Document #: 2319 Filed: 12/22/17 Page 5 of 7 PageID #:62487



 that Actavis’ preclinical testing, its product development, its safety monitoring, its marketing and

 sales efforts, and its handling of the Androderm product were lacking and led to heart attacks and

 other injuries, just as the PSC has been able to try its theory against other defendants. Any

 additional Actavis trials would be post-remand because Actavis Defendants have made clear that

 the August 2018 trial will be the only bellwether trial involving Actavis Defendants. Therefore,

 allowing Actavis Defendants to select the case to be tried in that slot would thwart the Court’s

 goals in this MDL.

V.       Conclusion

         Because the August 2018 trial slot is the PSC’s only chance to prepare and present its

 case against Actavis Defendants before remand, and because the Martin case is a representative

 case that would further the overall goals of this MDL, the PSC respectfully submits that the

 Court should select Martin as the primary trial case and Brubaker as the secondary case, ready to

 be tried if Martin is dismissed or otherwise resolved.

 December 22, 2017                     Respectfully Submitted,

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 Case: 1:14-cv-01748 Document #: 2319 Filed: 12/22/17 Page 7 of 7 PageID #:62489



                                 CERTIFICATE OF SERVICE

I transmitted a true and accurate copy of the foregoing Plaintiffs' Steering Committee's Brief

Regarding the Sequence of the Actavis Bellwether Trials by filing a copy on the Court's

electronic filing system on this date.

December 22, 2017.                       /s/ Brendan A. Smith
